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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,       )                            CASE NO. 8:15CR201
                                )
          Plaintiff,            )
                                )
          vs.                   )                            TENTATIVE FINDINGS
                                )
SULEMA JASMIN GOMEZ-VILLALOBOS, )
                                )
          Defendant.            )

       The Court has received the Revised Presentence Investigation Report and

Addendum (“PSR”), and the parties’ objections (Filing Nos. 79 and 80). The Defendant

has filed a motion for variance, along with a supporting brief (Filing Nos. 81 and 83). See

Order on Sentencing Schedule, ¶ 6. The Court advises the parties that these Tentative

Findings are issued with the understanding that, pursuant to United States v. Booker, 543

U.S. 220 (2005), the sentencing guidelines are advisory.

       Accordingly,

       IT IS ORDERED:

       1.     The government’s Objection to Revised Presentence Investigation Report and

Plaintiff’s Statement (Filing No. 79) and the Defendant’s Objections to Revised Presentence

Investigation Report (Filing No. 80) will be heard at the sentencing hearing;

       2.     The Court intends to adopt the PSR in all other respects;

       3.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary
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hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       4.     Absent submission of the information required by paragraph 3 of this Order,

these tentative findings are final;

       5.     The Defendant’s Motion for Variance from the Sentencing Guidelines (Filing

No. 81) will be heard at sentencing; and

       6.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 7th day of January, 2016.

                                           BY THE COURT:


                                           s/Laurie Smith Camp
                                           Chief United States District Judge




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